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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )               8:09CR26
                                          )
              vs.                         )                 ORDER
                                          )
MICHAEL A. PERKINS,                       )
                                          )
                     Defendant.           )


       This matter is before the court on the defendant’s Motion for Leave to File Traverse

to Government’s Answer to § 2255 Motion (Filing No. 115). The defendant requests a 60-

day extension of time in which to reply to the government’s response to his Motion to

Vacate under § 28 U.S.C. 2255 (Filing No. 99 and Filing No. 103. After considering the

matter, the defendant’s motion for an extension of time is granted. Defendant if given until

October 12, 2011, in which to file his reply.

       SO ORDERED.

       DATED this 12th day of August, 2011.

                                          BY THE COURT:



                                          s/ Joseph F. Bataillon
                                          Chief District Judge
